           Case 1:15-cr-00317-KMW Document 497 Filed 03/31/20 Page 1 of 3

                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York


                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       March 31, 2020
By ECF
The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

          Re:    United States v. Dean Skelos, S1 15 Cr. 317 (KMW)

Dear Judge Wood:

         The Government respectfully submits this letter in opposition to Dean Skelos’s emergency
motion, in which he seeks a “modification” of his sentence whereby, in light of the COVID-19
pandemic, he would be released to home confinement for the well over two years that remain on
his 51-month sentence of imprisonment. As Skelos concedes, he has failed to exhaust his
administrative remedies, as is required under 18 U.S.C. § 3582(c)(1)(A), because he apparently
filed his request for relief with the Bureau of Prisons (“BOP”) on March 26, 2020 – one day before
he filed this motion.1 This Court should therefore deny the motion, without prejudice to a future
motion if his application for relief is denied by the BOP.

        The district court may modify a term of imprisonment previously imposed if “extraordinary
and compelling reasons warrant such a reduction.” 18 U.S.C. § 3582(c)(1)(A)(i). But it only may
do so upon a motion of the BOP or of the defendant, in the latter case provided that “the defendant
has fully exhausted all administrative rights to appeal a failure of the [BOP] to bring a motion on
the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of
the defendant’s facility.” Id. Several courts of appeals have held that the requirements of Section
3582(c) constitute a jurisdictional bar preventing a district court from granting relief unless
satisfied. See United States v. Monzon, 2020 WL 550220, at *2 (S.D.N.Y. Feb. 4, 2020) (collecting
cases). And while the Second Circuit has not decided whether this is a jurisdictional bar, it has
made clear that as a general matter courts are “required to strictly enforce statutory exhaustion
requirements.” Theodoropoulous v. I.N.S., 358 F.3d 162, 172 (2d Cir. 2004). This Court therefore
“cannot grant [the] motion for sentence reduction” at this time. Monzon, 2020 WL 5500220, at *2.

       Skelos cites no authority permitting waiver of the exhaustion requirement under Section
3582(c). Instead, he relies on a case in the context of the Prison Litigation Reform Act (PLRA).
See Letter at 11 (citing Hemphill v. New York, 380 F.3d 680, 686 (2d Cir. 2004)). But that case,

1
    Skelos has not included a copy of this request in his submission.
         Case 1:15-cr-00317-KMW Document 497 Filed 03/31/20 Page 2 of 3
Hon. Kimba M. Wood
March 31, 2020

which pertains to a different statute, has since been overruled. See Medina v. Napoli, 725 F. App’x
51, n.1 (2d Cir. 2018) (recognizing that Hemphill was abrogated by Ross v. Blake, 136 S. Ct. 1850,
1856 (2016)). After Ross, the only recognized exception to the exhaustion requirement under the
PLRA is where the administrative remedy is simply “unavailable.” Williams v. Priatno, 829 F.3d
118, 123 (2d Cir. 2016); see also id. at 123-24 (describing three situations in which administrative
remedies might be deemed unavailable under the PLRA, none of which would apply here). Thus,
even under the framework applicable to the PLRA, which of course is not applicable, there would
be no basis for the Court to overlook Skelos’s failure to exhaust administrative remedies since he
makes no argument that such remedies are unavailable to him.

        To the contrary, Skelos is free to (and apparently has) petitioned the BOP for the relief he
seeks. Requiring Skelos to exhaust his administrative remedies is particularly appropriate in this
context, because the BOP is uniquely positioned to assess his suitability for such relief. Only the
BOP, for example, can provide the Court with detailed information on Skelos’s present health
condition,2 his behavior since being incarcerated, his recidivism score, and the relative risks in
Otisville as opposed to his desired place of release. On the latter point, it bears noting that while
Skelos does not specify his desired place of release, his primary residence is in New York State,
which, as noted in his submission, is currently the global epicenter of the coronavirus.

        To be sure, the COVID-19 pandemic warrants serious attention. But Skelos has offered no
evidence to suggest the BOP is not taking the pandemic seriously, and, to the contrary, the BOP
has made significant efforts to respond. In particular, since at least October 2012, BOP has had a
Pandemic Influenza Plan in place. See BOP Health Management Resources, available at
https://www.bop.gov/resources/health_care_mngmt.jsp. Moreover, beginning approximately two
months ago, in January 2020, BOP began to plan specifically for coronavirus/COVID-19 to ensure
the health and safety of inmates and BOP personnel. See Federal Bureau of Prisons COVID-19
Action Plan, available at https://www.bop.gov/resources/news/20200313_covid- 19.jsp. As part
of its Phase One response to coronavirus/COVID-19, BOP began to study “where the infection
was occurring and best practices to mitigate transmission.” Id. In addition, BOP stood up “an
agency task force” to study and coordinate its response to coronavirus/COVID-19, including using
“subject-matter experts both internal and external to the agency including guidance and directives
from the [World Health Organization (WHO)], the [Centers for Disease Control and Prevention
(CDC)], the Office of Personnel Management (OPM), the Department of Justice (DOJ) and the
Office of the Vice President. BOP’s planning is structured using the Incident Command System
(ICS) framework.” Id. On Friday, March 13, 2020, BOP, after coordination with DOJ and the
White House, implemented its Phase Two response “in order to mitigate the spread of COVID-19,
acknowledging the United States will have more confirmed cases in the coming weeks and also
noting that the population density of prisons creates a risk of infection and transmission for inmates
and staff.” Id. BOP’s national measures are intended to “ensure the continued effective operations
of the federal prison system and to ensure that staff remain healthy and available for duty.” Id.
For example, BOP (a) suspended social visits for 30 days (but increased inmates access to


2
 Skelos’s submission is supported by a report from a medical consultant with the Justice Advocacy
Group, who does not appear to have examined Skelos, but rather reviewed the PSR, which is dated
September 13, 2018.
                                                  2
         Case 1:15-cr-00317-KMW Document 497 Filed 03/31/20 Page 3 of 3
Hon. Kimba M. Wood
March 31, 2020

telephone calls); (b) suspended legal visits for 30 days (with case-by-case accommodations); (c)
suspended inmate movement for 30 days (with case-by-case exceptions, including for medical
treatment); (d) suspended official staff travel for 30 days; (e) suspended staff training for 30 days;
(f) restricted contractor access to BOP facilities to only those performing essential services, such
as medical treatment; (g) suspended volunteer visits for 30 days; (h) suspended tours for 30 days;
and (i) generally “implement[ed] nationwide modified operations to maximize social distancing
and limit group gatherings in [its] facilities.” Id. In addition, BOP has implemented screening
protocols for both BOP staff and inmates, with staff being subject to “enhanced screening” and
inmates being subject to screening managed by its infectious disease management programs. Id.
As part of BOP’s inmate screening process, (i) “[a]ll newly-arriving BOP inmates are being
screened for COVID-19 exposure risk factors and symptoms”; (ii) “[a]symptomatic inmates with
exposure risk factors are quarantined; and (iii) “[s]ymptomatic inmates with exposure risk factors
are isolated and tested for COVID-19 per local health authority protocols.” Id. Skelos has offered
no evidence as to why these measures are insufficient.

        Moreover, Skelos is far from the only inmate seeking similar relief, and the BOP is
uniquely suited to evaluate, at least in the first instance, the relative merit of Skelos’s application
as compared to the numerous other prisoners making similar ones. While Skelos attempts to argue
that he is uniquely situated (Letter at 9), the fact remains that there are hundreds if not thousands
of inmates over the age of 70 who, like Skelos, have committed very serious crimes and are serving
well-deserved sentences of incarceration. Permitting Skelos to forego the BOP process will
assuredly lead to a flood of similar applications, which will in turn lead to inconsistent outcomes,
where petitions by similarly situated inmates are adjudicated by different judges without the
benefit of the BOP’s initial assessment of relative merit.

        In sum, even if the Court had jurisdiction to grant the requested relief at this time, it would
be inappropriate for this Court to circumvent the review process currently underway at the BOP.
In the event Skelos’s petition is denied by the BOP, he may renew his motion, at which time the
Government will be prepared to respond on the merits, a response that will be informed by
additional information gathered and considered by the BOP through its review. 3

                                       Respectfully submitted,

                                       AUDREY STRAUSS
                                       Attorney for the United States,
                                       Acting Under Authority Conferred by 28 U.S.C. § 515

                                  By: /s
                                      Edward B. Diskant / Thomas McKay /
                                      Douglas S. Zolkind
                                      Assistant United States Attorneys
                                      (212) 637-2268


3
 In the event the Court is inclined to disregard the administrative exhaustion requirement, the
Government requests an opportunity to respond on the merits and oral argument, if necessary.
                                                  3
